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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           Civil Action No.:

     DATA SCAPE LIMITED,

                      Plaintiff,

            v.
                                                           JURY TRIAL DEMANDED
     DEEZER, INC. and DEEZER, S.A.,

                      Defendants.
                                                    /

                          COMPLAINT FOR PATENT INFRINGEMENT

            This is an action for patent infringement arising under the Patent Laws of the United

     States of America, 35 U.S.C. § 1 et seq. in which plaintiff Data Scape Limited (“Plaintiff,”

     “Data Scape”) makes the following allegations against defendant Deezer, Inc.

     (“Defendant”):

                                              PARTIES

            1.        Data Scape is a company organized under the laws of Ireland with its office

     located at Office 115, 4-5 Burton Hall Road, Sandyford, Dublin 18, Ireland.

            2.        On information and belief, Defendant Deezer, Inc. is a Delaware

     corporation with its principal office at One Alhambra Plaza Miami Florida, 33134. On

     information and belief, Deezer can be served through its registered agent, Paracorp

     Incorporated, 2140 S Dupont Hwy. Camden, DE 19934. On information and belief,

     Defendant Deezer, S.A. is a French entity with its principal office at 12 rue d'Athènes

     75009 Paris. On information and belief, Defendant Deezer, S.A. is the corporate parent of

     Deezer, Inc. Defendants Deezer, Inc. and Deezer, S.A. (collectively “Deezer” or




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     “Defendant”) offers their products and/or services, including those accused herein of

     infringement, to customers and potential customers located in Florida and in this District.

                                  JURISDICTION AND VENUE

             3.     This action arises under the patent laws of the United States, Title 35 of the

     United States Code. This Court has original subject matter jurisdiction pursuant to 28

     U.S.C. §§ 1331 and 1338(a).

             4.     This Court has personal jurisdiction over Defendant in this action because

     Defendant has committed acts within the Southern District of Florida giving rise to this

     action and has established minimum contacts with this forum such that the exercise of

     jurisdiction over Defendant would not offend traditional notions of fair play and substantial

     justice. Defendant, directly and through subsidiaries or intermediaries, has committed and

     continues to commit acts of infringement in this District by, among other things, offering

     to sell and selling products and/or services that infringe the asserted patents.

             5.     Venue is proper in this district under 28 U.S.C. § 1400(b). Deezer, Inc. is

     registered to do business, and has its headquarters in this District. Upon information and

     belief, Defendant has transacted business in this District and has committed acts of direct

     and indirect infringement in this District. Furthermore, as a foreign entity accused of

     infringing United States Patents, venue is additionally proper over Deezer, S.A. in this

     District.

                                              COUNT I

                       INFRINGEMENT OF U.S. PATENT NO. 8,122,163

             6.     Data Scape is the owner by assignment of United States Patent No.

     8,122,163 (“the ’163 Patent”), entitled “Communication System And Its Method and




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     Communication Apparatus And Its Method.” The ’163 Patent was duly and legally issued

     by the United States Patent and Trademark Office on February 21, 2012. A true and correct

     copy of the ’163 Patent is included as Exhibit A.

            7.      Defendant has offered for sale, sold and/or imported into the United States

     products and services that infringe the ’163 patent, and continues to do so. By way of

     illustrative example, these infringing products and services include, without limitation,

     Defendant’s products and services, e.g., Deezer online music streaming platform, including

     Deezer Free, Deezer Premium, Deezer Family, Deezer HiFi, Deezer Student, Deezer Web

     subscription services and all versions and variations thereof since the issuance of the ’163

     Patent (“Accused Instrumentalities”).

            8.      Defendant has directly infringed and continues to infringe the ’163 Patent,

     for example, by making, selling, offering for sale, and/or importing the Accused

     Instrumentalities, and through its own use and testing of the Accused Instrumentalities.

     Defendant uses the Accused Instrumentalities for its own internal non-testing business

     purposes, while testing the Accused Instrumentalities, and while providing technical

     support and repair services for the Accused Instrumentalities to its customers.

            9.      For example, the Accused Instrumentalities infringe Claim 1 (as well as

     other claims) of the ’163 Patent. One non-limiting example of the Accused

     Instrumentalities’ infringement is presented below:

            10.     The Accused Instrumentalities include “a communication apparatus

     comprising a storage unit configured to store content data and associated data of the content

     data to a storage medium.” For example, the Accused Instrumentalities store tracks, user

     playlists as well as metadata, features, and tags associated with the stored tracks. See e.g.,




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     https://www.elastic.co/customers/deezer (“The music catalog is updated all the time as

     Deezer continuously receives new material from record companies. Rapid updating of the

     data is also a mission-critical capability at Deezer, to keep the music catalog up to date at

     all times.”). See e.g., Elastic @Deezer by Aurelien Saint Requier, Search Data Scientist

     available at https://www.slideshare.net/AurelienSaintRequier/elastic-deezer




     See e.g., Story of the algorithms behind Deezer Flow available at
     https://www.slideshare.net/recsysfr/story-of-the-algorithms-behind-deezer-flow




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            11.      The Accused Instrumentalities include “a communication unit.”                For

     example, the Accused instrumentalities include a communication unit (e.g., network

     interface)   that   communicates     musical       content   to   users’   devices.   See   e.g.,

     https://www.deezer.com/en/company (“Deezer lets you play the music you just have to

     hear, instantly. Jump in and explore over 56 million tracks (and counting), and discover

     artists and tracks you'll love with personalised recommendations from the Deezer Editors.

     Deezer works across all your devices, both online and offline, with no listening limits. It's

     music at your fingertips for waking up, getting going, chilling out, living life.”).

     See e.g., https://support.deezer.com/hc/en-gb/articles/115003865685-Audio-Quality.

     As another example, the Accused Instrumentalities included a communication unit

     configured to transmit musical content to users’ devices for offline listening mode. See

     e.g., https://support.deezer.com/hc/en-gb/articles/115003884605-Listen-offline.             (“By

     default, the Deezer app will only download your music when you are connected to Wi-Fi

     to save data.” “Deezer paid subscribers can download all their favorite content and listen

     to it over and over again by accessing the desktop app.”)




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            12.     The Accused Instrumentalities include “a controller configured to control a

     display unit to display the associated data.” For example, the Accused Instrumentalities

     displays a user playlist consisting of a collection of musical tracks as well as artist and

     album data.       See e.g., https://support.deezer.com/hc/en-gb/articles/115003746149-

     Creating-and-Adding-to-Playlists (e.g., “Playlists are collections of tracks that you can

     create for different occasions or to suit your mood.”).




     See Deezer Web Application




     See Deezer iOS Application.




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            13.     The Accused Instrumentalities include a controller configured to “make a

     transfer list of content data based on a user input to the displayed associated data, the

     transfer list being associated with a predetermined identifier uniquely identifying a

     predetermined external reproduction apparatus.”            For example, the Accused

     Instrumentalities synchronize newly added tracks in the user’s playlist across all devices.

     As such, when Deezer’s web application edit the user’s playlist while the user’s mobile

     device is offline, the playlist edits are compared and synced automatically once the user’s

     mobile device is back online.




     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).



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     See Deezer iOS Application. (emphasis added).

     Moreover, the Accused Instrumentalities include a predetermined identifier that uniquely

     identifies mobile devices linked to users’ accounts.




     See Deezer iOS Application.




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            14.     The Accused Instrumentalities include a controller configured to

     “determine whether an identifier received by the communication unit is the predetermined

     identifier.” For example, the Deezer can determine whether a specific user account

     associated with a device is connected to Deezer’s platform. As such, the Accused

     instrumentalities use the user’s email address or Facebook/Google credentials to access

     their Deezer account. Moreover, Deezer identifies mobile devices linked to users’ accounts




     See Deezer iOS Application.

            15.      The Accused Instrumentalities include a controller configured to “control

     the transferring of the content data to the predetermined external reproduction apparatus

     according to the transfer list when the received identifier is the predetermined identifier.”

     For example, when Deezer’s web application edits the user’s playlist while the user’s mobile

     device is offline, the playlist edits are automatically transmitted to the user’s mobile device

     when it reconnects.



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     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).




     See Deezer iOS Application. (emphasis added).


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            16.     The Accused Instrumentalities include a controller configured to control

     “playback of content data with the transfer list so that the content data registered in the

     transfer list is played back as a unit of playback.”           For example, the Accused

     instrumentalities control playback of songs included in the user’s edited playlist.




     See Deezer iOS Application.

            17.     Defendant has had knowledge of the ’163 Patent and its infringement since

     at least the filing of the original Complaint in this action, or shortly thereafter, including

     by way of this lawsuit. By the time of trial, Defendant will have known and intended (since

     receiving such notice) that its continued actions would actively induce and contribute to

     the infringement of the claims of the ’163 Patent.

            18.     Defendant’s affirmative acts of making, using, selling, offering for sale,

     and/or importing the Accused Instrumentalities have induced and continue to induce users

     of the Accused Instrumentalities to use the Accused Instrumentalities in their normal and

     customary way to infringe the claims of the ’163 Patent. Use of the Accused




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     Instrumentalities in their ordinary and customary fashion results in infringement of the

     claims of the ’163 Patent.

            19.     For example, Defendant explains to customers the benefits of using the

     Accused Instrumentalities, such as by touting their advantages of synchronizing settings

     among multiple devices. Defendant also induces its customers to use the Accused

     Instrumentalities to infringe other claims of the ’163 Patent. Defendant specifically

     intended and was aware that the normal and customary use of the Accused Instrumentalities

     on compatible systems would infringe the ’163 Patent. Defendant performed the acts that

     constitute induced infringement, and would induce actual infringement, with the

     knowledge of the ’163 Patent and with the knowledge, or willful blindness to the

     probability, that the induced acts would constitute infringement. On information and

     belief, Defendant engaged in such inducement to promote the sales of the Accused

     Instrumentalities, e.g., through its user manuals, product support, marketing materials,

     demonstrations, installation support, and training materials to actively induce the users of

     the accused products to infringe the ’163 Patent. Accordingly, Defendant has induced and

     continues to induce end users of the accused products to use the accused products in their

     ordinary and customary way with compatible systems to make and/or use systems

     infringing the ’163 Patent, knowing that such use of the Accused Instrumentalities with

     compatible systems will result in infringement of the ’163 Patent. Accordingly, Defendant

     has been (since at least as of filing of the original complaint), and currently is, inducing

     infringement of the ’163 Patent, in violation of 35 U.S.C. § 271(b).

            20.     For similar reasons, Defendant also infringes the ’163 Patent by supplying

     or causing to be supplied in or from the United States all or a substantial portion of the




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     components of the Accused Instrumentalities, where such components are uncombined in

     whole or in part, in such manner as to actively induce the combination of such components

     outside of the United States in a manner that would infringe the ’163 Patent if such

     combination occurred within the United States. For example, Defendant supplies or causes

     to be supplied in or from the United States all or a substantial portion of the hardware (e.g.,

     separate Deezer servers) and software (e.g., Deezer application) components of the

     Accused Instrumentalities in such a manner as to actively induce the combination of such

     components (e.g., by instructing users to combine multiple Deezer components into an

     infringing system) outside of the United States.

            21.     Defendant has also infringed, and continues to infringe, claims of the ’163

     Patent by offering to commercially distribute, commercially distributing, making, and/or

     importing the Accused Instrumentalities, which are used in practicing the process, or using

     the systems, of the ’163 Patent, and constitute a material part of the invention. Defendant

     knows the components in the Accused Instrumentalities to be especially made or especially

     adapted for use in infringement of the ’163, not a staple article, and not a commodity of

     commerce suitable for substantial noninfringing use. For example, the ordinary way of

     using the Accused Instrumentalities infringes the patent claims, and as such, is especially

     adapted for use in infringement. Accordingly, Defendant has been, and currently is,

     contributorily infringing the ’163 Patent, in violation of 35 U.S.C. § 271(c).

            22.     Defendant also indirectly infringes the ’163 Patent by supplying or causing

     to be supplied in or from the United States components of the Accused Instrumentalities

     that are especially made or especially adapted for use in infringing the ’163 Patent and are

     not a staple article or commodity of commerce suitable for substantial non-infringing use,




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     and where such components are uncombined in whole or in part, knowing that such

     components are so made or adapted and intending that such components are combined

     outside of the United States in a manner that would infringe the ’163 Patent if such

     combination occurred within the United States. Because the Accused Instrumentalities are

     designed to operate as the claimed system and apparatus, the Accused Instrumentalities

     have no substantial non-infringing uses, and any other uses would be unusual, far-fetched,

     illusory, impractical, occasional, aberrant, or experimental. For example, Defendant

     supplies or causes to be supplied in or from the United States all or a substantial portion of

     the hardware (e.g., separate Deezer servers) and software (e.g., Deezer application)

     components that are especially made or especially adapted for use in the Accused

     Instrumentalities, where such hardware and software components are not staple articles or

     commodities of commerce suitable for substantial noninfringing use, knowing that such

     components are so made or adapted and intending that such components are combined

     outside of the United States, as evidenced by Defendant’s own actions or instructions to

     users in, e.g., combining multiple Deezer components into infringing systems, and enabling

     and configuring the infringing functionalities of the Accused Instrumentalities.

            23.     As a result of Defendant’s infringement of the ’163 Patent, Plaintiff Data

     Scape is entitled to monetary damages in an amount adequate to compensate for each

     Defendant’s infringement, but in no event less than a reasonable royalty for the use made

     of the invention by each Defendant, together with interest and costs as fixed by the Court.




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                                             COUNT II

                      INFRINGEMENT OF U.S. PATENT NO. 7,561,363

            24.     Data Scape is the owner by assignment of United States Patent No.

     7,561,363 (“the ’363 Patent”), entitled “Recording Apparatus, Server Apparatus,

     Recording Method, Program, And Storage Medium.” The ‘363 Patent was duly and legally

     issued by the United States Patent and Trademark Office on July 14, 2009. A true and

     correct copy of the 363 Patent is included as Exhibit B.

            25.     Defendant has offered for sale, sold and/or imported into the United States

     products and services that infringe the ’363 patent, and continues to do so. By way of

     illustrative example, these infringing products and services include, without limitation,

     Defendant’s products and services, e.g., Deezer online music streaming platform, including

     Deezer Free, Deezer Premium, Deezer Family, Deezer HiFi, Deezer Student, Deezer Web

     subscription services and all versions and variations thereof since the issuance of the ’363

     Patent (“Accused Instrumentalities”).

            26.     Defendant has directly infringed and continues to infringe the ’363 Patent,

     for example, by making, selling, offering for sale, and/or importing the Accused

     Instrumentalities, and through its own use and testing of the Accused Instrumentalities.

     Defendant uses the Accused Instrumentalities for its own internal non-testing business

     purposes, while testing the Accused Instrumentalities, and while providing technical

     support and repair services for the Accused Instrumentalities to its customers.

            27.     For example, the Accused Instrumentalities infringe Claim 6 (as well as

     other claims) of the ’363 Patent. One non-limiting example of the Accused

     Instrumentalities’ infringement is presented below:




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            28.     The Accused Instrumentalities include “a data recording apparatus

     comprising a controller configured to control reading first management data from a first

     recording medium.” For example, the Accused Instrumentalities store tracks, user playlists

     as well as metadata, features, and tags associated with the stored tracks. See e.g.,

     https://www.elastic.co/customers/deezer (“The music catalog is updated all the time as

     Deezer continuously receives new material from record companies. Rapid updating of the

     data is also a mission-critical capability at Deezer, to keep the music catalog up to date at

     all times.”). See e.g., Elastic @Deezer by Aurelien Saint Requier, Search Data Scientist

     available at https://www.slideshare.net/AurelienSaintRequier/elastic-deezer




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     See e.g., Story of the algorithms behind Deezer Flow available at
     https://www.slideshare.net/recsysfr/story-of-the-algorithms-behind-deezer-flow




     Moreover, the Accused Instrumentalities read the stored user playlist from the Deezer

     database and display it via Deezer web application.




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     See Deezer Web Application.

             29.     In the Accused Instrumentalities, the first management data identifies “all

     tracks of source data recorded on said first recording medium.” For example, the Accused

     Instrumentalities display user’s playlists that identify all the tracks stored by a user.




     See Deezer Web Application.

             30.     The Accused Instrumentalities include “a second recording medium

     configured to store second management data and files of ripped data.” For example, the

     Accused Instrumentalities store downloaded tracks and playlists on a mobile device.




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     See Deezer iOS Application.

             31.     In the Accused Instrumentalities, the second management data identifies

     “all of the files of the ripped data recorded on said second recording medium.” For

     example, the Accused Instrumentalities display on the mobile device via Deezer’s mobile

     application user’s playlists that identify all the tracks stored by a user on the mobile device.




     See Deezer iOS Application.



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            32.     In the Accused Instrumentalities, “said first management data is compared

     with second management data to determine whether any of the files of the ripped data

     recorded on said second recording medium is recorded on said first recording medium.”

     For instance, if a playlist is edited in Deezer’s web application to add a new song, Deezer

     will compare songs in the web and mobile applications and synchronize the newly added

     song with the user’s mobile device.




     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).




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     See Deezer iOS Application. (emphasis added).

            33.     In the Accused Instrumentalities, the “controller controls reading one of the

     tracks of the source data from said first recording medium, said one of the tracks of the

     source data being read when absent from said second recording medium.” For example,

     the Accused Instrumentalities read and display tracks in the Deezer’s web application that

     are absent from Deezer’s mobile application.




     See Deezer Web Application. (emphasis added).




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     See Deezer iOS Application.

            34.     In the Accused Instrumentalities, “said one of the tracks of source data on

     said second recording medium becomes one of the files of the ripped data.” For example,

     when Deezer’s web application edits the user’s playlist while the user’s mobile device is

     offline, the playlist edits are automatically transmitted to the user’s mobile device when it

     reconnects.




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     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).




     See Deezer iOS Application. (emphasis added).

            35.     Defendant has had knowledge of the ’363 Patent and its infringement since

     at least the filing of the original Complaint in this action, or shortly thereafter, including

     by way of this lawsuit. By the time of trial, Defendant will have known and intended (since

     receiving such notice) that its continued actions would actively induce and contribute to

     the infringement of the claims of the ’363 Patent.

            36.     Defendant’s affirmative acts of making, using, selling, offering for sale,

     and/or importing the Accused Instrumentalities have induced and continue to induce users

     of the Accused Instrumentalities to use the Accused Instrumentalities in their normal and




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     customary way to infringe the claims of the ’363 Patent. Use of the Accused

     Instrumentalities in their ordinary and customary fashion results in infringement of the

     claims of the ’363 Patent.

            37.     For example, Defendant explains to customers the benefits of using the

     Accused Instrumentalities, such as by touting their advantages of synchronizing settings

     among multiple devices. Defendant also induces its customers to use the Accused

     Instrumentalities to infringe other claims of the ’363 Patent. Defendant specifically

     intended and was aware that the normal and customary use of the Accused Instrumentalities

     on compatible systems would infringe the ’363 Patent. Defendant performed the acts that

     constitute induced infringement, and would induce actual infringement, with the

     knowledge of the ’363 Patent and with the knowledge, or willful blindness to the

     probability, that the induced acts would constitute infringement. On information and

     belief, Defendant engaged in such inducement to promote the sales of the Accused

     Instrumentalities, e.g., through its user manuals, product support, marketing materials,

     demonstrations, installation support, and training materials to actively induce the users of

     the accused products to infringe the ’363 Patent. Accordingly, Defendant has induced and

     continues to induce end users of the accused products to use the accused products in their

     ordinary and customary way with compatible systems to make and/or use systems

     infringing the ’363 Patent, knowing that such use of the Accused Instrumentalities with

     compatible systems will result in infringement of the ’363 Patent. Accordingly, Defendant

     has been (since at least as of filing of the original complaint), and currently is, inducing

     infringement of the ’363 Patent, in violation of 35 U.S.C. § 271(b).




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            38.     For similar reasons, Defendant also infringes the ’363 Patent by supplying

     or causing to be supplied in or from the United States all or a substantial portion of the

     components of the Accused Instrumentalities, where such components are uncombined in

     whole or in part, in such manner as to actively induce the combination of such components

     outside of the United States in a manner that would infringe the ’363 Patent if such

     combination occurred within the United States. For example, Defendant supplies or causes

     to be supplied in or from the United States all or a substantial portion of the hardware (e.g.,

     separate Deezer servers) and software (e.g., Deezer application) components of the

     Accused Instrumentalities in such a manner as to actively induce the combination of such

     components (e.g., by instructing users to combine multiple Deezer components into an

     infringing system) outside of the United States.

            39.     Defendant has also infringed, and continues to infringe, claims of the ’363

     Patent by offering to commercially distribute, commercially distributing, making, and/or

     importing the Accused Instrumentalities, which are used in practicing the process, or using

     the systems, of the ’363 Patent, and constitute a material part of the invention. Defendant

     knows the components in the Accused Instrumentalities to be especially made or especially

     adapted for use in infringement of the ’363, not a staple article, and not a commodity of

     commerce suitable for substantial noninfringing use. For example, the ordinary way of

     using the Accused Instrumentalities infringes the patent claims, and as such, is especially

     adapted for use in infringement. Accordingly, Defendant has been, and currently is,

     contributorily infringing the ’363 Patent, in violation of 35 U.S.C. § 271(c).

            40.     Defendant also indirectly infringes the ’363 Patent by supplying or causing

     to be supplied in or from the United States components of the Accused Instrumentalities




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     that are especially made or especially adapted for use in infringing the ’363 Patent and are

     not a staple article or commodity of commerce suitable for substantial non-infringing use,

     and where such components are uncombined in whole or in part, knowing that such

     components are so made or adapted and intending that such components are combined

     outside of the United States in a manner that would infringe the ’363 Patent if such

     combination occurred within the United States. Because the Accused Instrumentalities are

     designed to operate as the claimed system and apparatus, the Accused Instrumentalities

     have no substantial non-infringing uses, and any other uses would be unusual, far-fetched,

     illusory, impractical, occasional, aberrant, or experimental. For example, Defendant

     supplies or causes to be supplied in or from the United States all or a substantial portion of

     the hardware (e.g., separate Deezer servers) and software (e.g., Deezer application)

     components that are especially made or especially adapted for use in the Accused

     Instrumentalities, where such hardware and software components are not staple articles or

     commodities of commerce suitable for substantial noninfringing use, knowing that such

     components are so made or adapted and intending that such components are combined

     outside of the United States, as evidenced by Defendant’s own actions or instructions to

     users in, e.g., combining multiple Deezer components into infringing systems, and enabling

     and configuring the infringing functionalities of the Accused Instrumentalities.

            41.     As a result of Defendant’s infringement of the ’363 Patent, Plaintiff Data

     Scape is entitled to monetary damages in an amount adequate to compensate for each

     Defendant’s infringement, but in no event less than a reasonable royalty for the use made

     of the invention by each Defendant, together with interest and costs as fixed by the Court.




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                                             COUNT III

                     INFRINGEMENT OF U.S. PATENT NO. 10,027,751

            42.     Data Scape is the owner by assignment of United States Patent No.

     10,027,751 (“the ’751 Patent”), entitled “Communication System And Its Method and

     Communication Apparatus And Its Method.” The ’751 Patent was duly and legally issued

     by the United States Patent and Trademark Office on July 17, 2018. A true and correct

     copy of the ’751 Patent is included as Exhibit C.

            43.     Defendant has offered for sale, sold and/or imported into the United States

     products and services that infringe the ’751 patent, and continues to do so. By way of

     illustrative example, these infringing products and services include, without limitation,

     Defendant’s products and services, e.g., Deezer online music streaming platform, including

     Deezer Free, Deezer Premium, Deezer Family, Deezer HiFi, Deezer Student, Deezer Web

     subscription services and all versions and variations thereof since the issuance of the ’751

     Patent (“Accused Instrumentalities”).

            44.     Defendant has directly infringed and continues to infringe the ’751 Patent,

     for example, by making, selling, offering for sale, and/or importing the Accused

     Instrumentalities, and through its own use and testing of the Accused Instrumentalities.

     Defendant uses the Accused Instrumentalities for its own internal non-testing business

     purposes, while testing the Accused Instrumentalities, and while providing technical

     support and repair services for the Accused Instrumentalities to its customers.

            45.     For example, the Accused Instrumentalities infringe Claim 1 (as well as

     other claims) of the ’751 Patent. One non-limiting example of the Accused

     Instrumentalities’ infringement is presented below:




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            46.     The Accused instrumentalities include “[a] communication apparatus

     configured to transmit data to an apparatus.” For example, the Accused Instrumentalities

     communicate musical content from Deezer’s catalogue comprising of more than 40 million

     tracks, radio stations, and Deezer Talk via Deezer application to Windows or Mac desktops

     and mobile/table devices. See e.g., https://www.deezer.com/en/company (“Deezer lets you

     play the music you just have to hear, instantly. Jump in and explore over 56 million tracks

     (and counting), and discover artists and tracks you'll love with personalised

     recommendations from the Deezer Editors. Deezer works across all your devices, both

     online and offline, with no listening limits. It's music at your fingertips for waking up,

     getting going, chilling out, living life.”) See, e.g., https://support.deezer.com/hc/en-

     gb/articles/360000618605-Download-the-Deezer-app (“The Deezer app is free to

     download and all users can enjoy our catalog of over 53 million tracks.”)




     As another example, the Accused Instrumentalities transmit “Subscriber Content” using

     Deezer’s web player via browsers running users’ devices or Deezer application installed

     on users’ desktop or mobile/tablet devices. See https://www.deezer.com/legal/cgu (“By



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     transmitting or submitting any Subscriber Content while using the Site, the Application

     or the Premium+ Service, you affirm, represent and warrant that such transmission or

     submission is (a) accurate and not confidential; (b) not in violation of any applicable

     laws, contractual restrictions or other third party rights, and that you have permission

     from any third party whose personal information or intellectual property is comprised in

     the Subscriber Content; (c) free of viruses, adware, spyware, worms or other malicious

     code; and (d) you acknowledge and agree that any of your personal information within

     such content will at all times be processed by DEEZER in accordance with its Privacy

     Policy.”)

            47.     The Accused instrumentalities include a communication apparatus

     comprising “a hardware storage medium configured to store management information of

     data to be transferred to the apparatus.” For example, the Accused Instrumentalities store

     user playlists as well as metadata, features, and tags associated with the musical content.

     See e.g., https://www.elastic.co/customers/deezer (“The music catalog is updated all the

     time as Deezer continuously receives new material from record companies. Rapid updating

     of the data is also a mission-critical capability at Deezer, to keep the music catalog up to

     date at all times.”). See e.g., Elastic @Deezer by Aurelien Saint Requier, Search Data

     Scientist available at https://www.slideshare.net/AurelienSaintRequier/elastic-deezer




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     See e.g., Story of the algorithms behind Deezer Flow available at
     https://www.slideshare.net/recsysfr/story-of-the-algorithms-behind-deezer-flow




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            48.     The Accused Instrumentalities include a communication apparatus

     comprising “a communicator configured to communicate data with the apparatus.” For

     example, the Accused instrumentalities include a communicator (e.g., network interface)

     that    communicates       musical      content     to    users’     devices.     See   e.g.,

     https://www.deezer.com/en/company (“Deezer lets you play the music you just have to

     hear, instantly. Jump in and explore over 56 million tracks (and counting), and discover

     artists and tracks you'll love with personalised recommendations from the Deezer Editors.

     Deezer works across all your devices, both online and offline, with no listening limits. It's

     music at your fingertips for waking up, getting going, chilling out, living life.”).

     See e.g., https://support.deezer.com/hc/en-gb/articles/115003865685-Audio-Quality.

     More specifically, the communicator is configured to adjust the musical content

     transmission rate, measured in bits per second, based on users’ audio quality preferences.

     See e.g., https://support.deezer.com/hc/en-gb/articles/115003865685-Audio-Quality




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     As another example, the Accused Instrumentalities included a communicator configured

     to transmit musical content to users’ devices for offline listening mode. See e.g.,

     https://support.deezer.com/hc/en-gb/articles/115003884605-Listen-offline. (“By default,

     the Deezer app will only download your music when you are connected to Wi-Fi to save

     data.” “Deezer paid subscribers can download all their favorite content and listen to it over

     and over again by accessing the desktop app.”)

            49.     The Accused instrumentalities include a communication apparatus

     comprising “a detector configured to detect whether the communication apparatus and the

     apparatus are connected.” For example, the Accused instrumentalities include a network

     interface configured to detect whether Internet connection is unavailable. As such, when

     the network connection is available, Deezer iOS application reconnects to synchronize

     changes made to the user playlist.




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     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).




     See Deezer iOS Application. (emphasis added).


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            50.     The Accused instrumentalities include a communication apparatus

     comprising “an editor configured to select certain data to be transferred and to edit the

     management information based on the selection without regard to the connection of the

     communication apparatus and the apparatus.” For example, the Accused Instrumentalities

     provide a mechanize for editing the user’s playlist via the web application without regard

     to the internet connection of the user’s mobile devices.




     See Deezer Web Application. (emphasis added).




     See Deezer iOS Application.




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            51.     The Accused instrumentalities include a communication apparatus

     comprising “a controller configured to control transfer of the selected data stored in the

     communication apparatus to the apparatus via the communicator based on the management

     information edited by the editor when the detector detects that the communication

     apparatus and the apparatus are connected.” For example, when Deezer’s web application

     makes edits to the user’s playlist while the user’s mobile device is offline, the playlist edits

     are automatically transferred to the user’s mobile device when it reconnects to the network.




     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).




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     See Deezer iOS Application. (emphasis added).

            52.    The Accused instrumentalities include a communication apparatus

     comprising a controller configured to “compare the management information edited by the

     editor with management information of data stored in the apparatus.” For instance, if a

     playlist is edited in Deezer web application to add a new song, Deezer application running

     on the mobile device will compare songs in the web and mobile applications and only

     synchronize the newly added song.




     See Deezer iOS Application.


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     See Deezer Web Application. (emphasis added).




     See Deezer iOS Application. (emphasis added).

            53.     The Accused instrumentalities include a communication apparatus

     comprising a controller configured to “determine a size of the selected data in the

     communication apparatus.” For example, the Accused instrumentalities determine a size

     of stored musical content encoded with different bitrates. In particular, the Accused

     instrumentalities allow users to choose the quality of transmitted musical content by

     selecting a higher bitrate for an improved audio resolution/quality. A higher bitrate allows

     more data to be stored for every second of uncompressed audio content resulting in a larger

     file size. See e.g., https://support.deezer.com/hc/en-gb/articles/115003865685-Audio-

     Quality




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     See Deezer iOS Application.

            54.     The Accused instrumentalities include a communication apparatus

     comprising a controller configured to “transmit data in the communication apparatus based

     on result of the comparison and the determination.” For example, when Deezer’s web

     application edits the user’s playlist while the user’s mobile device is offline, the playlist

     edits are automatically transmitted to the user’s mobile device when it reconnects.




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     See Deezer iOS Application.




     See Deezer Web Application. (emphasis added).




     See Deezer iOS Application. (emphasis added).




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            55.     Defendant has had knowledge of the ’751 Patent and its infringement since

     at least the filing of the original Complaint in this action, or shortly thereafter, including

     by way of this lawsuit. By the time of trial, Defendant will have known and intended (since

     receiving such notice) that its continued actions would actively induce and contribute to

     the infringement of the claims of the ’751 Patent.

            56.     Defendant’s affirmative acts of making, using, selling, offering for sale,

     and/or importing the Accused Instrumentalities have induced and continue to induce users

     of the Accused Instrumentalities to use the Accused Instrumentalities in their normal and

     customary way to infringe the claims of the ’751 Patent. Use of the Accused

     Instrumentalities in their ordinary and customary fashion results in infringement of the

     claims of the ’751 Patent.

            57.     For example, Defendant explains to customers the benefits of using the

     Accused Instrumentalities, such as by touting their advantages of synchronizing settings

     among multiple devices. Defendant also induces its customers to use the Accused

     Instrumentalities to infringe other claims of the ’751 Patent. Defendant specifically

     intended and was aware that the normal and customary use of the Accused Instrumentalities

     on compatible systems would infringe the ’751 Patent. Defendant performed the acts that

     constitute induced infringement, and would induce actual infringement, with the

     knowledge of the ’751 Patent and with the knowledge, or willful blindness to the

     probability, that the induced acts would constitute infringement. On information and

     belief, Defendant engaged in such inducement to promote the sales of the Accused

     Instrumentalities, e.g., through its user manuals, product support, marketing materials,

     demonstrations, installation support, and training materials to actively induce the users of




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     the accused products to infringe the ’751 Patent. Accordingly, Defendant has induced and

     continues to induce end users of the accused products to use the accused products in their

     ordinary and customary way with compatible systems to make and/or use systems

     infringing the ’751 Patent, knowing that such use of the Accused Instrumentalities with

     compatible systems will result in infringement of the ’751 Patent. Accordingly, Defendant

     has been (since at least as of filing of the original complaint), and currently is, inducing

     infringement of the ’751 Patent, in violation of 35 U.S.C. § 271(b).

            58.     For similar reasons, Defendant also infringes the ’751 Patent by supplying

     or causing to be supplied in or from the United States all or a substantial portion of the

     components of the Accused Instrumentalities, where such components are uncombined in

     whole or in part, in such manner as to actively induce the combination of such components

     outside of the United States in a manner that would infringe the ’751 Patent if such

     combination occurred within the United States. For example, Defendant supplies or causes

     to be supplied in or from the United States all or a substantial portion of the hardware (e.g.,

     separate Deezer servers) and software (e.g., Deezer application) components of the

     Accused Instrumentalities in such a manner as to actively induce the combination of such

     components (e.g., by instructing users to combine multiple Deezer components into an

     infringing system) outside of the United States.

            59.     Defendant has also infringed, and continues to infringe, claims of the ’751

     Patent by offering to commercially distribute, commercially distributing, making, and/or

     importing the Accused Instrumentalities, which are used in practicing the process, or using

     the systems, of the ’751 Patent, and constitute a material part of the invention. Defendant

     knows the components in the Accused Instrumentalities to be especially made or especially




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     adapted for use in infringement of the ’751 Patent, not a staple article, and not a commodity

     of commerce suitable for substantial noninfringing use. For example, the ordinary way of

     using the Accused Instrumentalities infringes the patent claims, and as such, is especially

     adapted for use in infringement. Accordingly, Defendant has been, and currently is,

     contributorily infringing the ’751 Patent, in violation of 35 U.S.C. § 271(c).

            60.     Defendant also indirectly infringes the ’751 Patent by supplying or causing

     to be supplied in or from the United States components of the Accused Instrumentalities

     that are especially made or especially adapted for use in infringing the ’751 Patent and are

     not a staple article or commodity of commerce suitable for substantial non-infringing use,

     and where such components are uncombined in whole or in part, knowing that such

     components are so made or adapted and intending that such components are combined

     outside of the United States in a manner that would infringe the ’751 Patent if such

     combination occurred within the United States. Because the Accused Instrumentalities are

     designed to operate as the claimed system and apparatus, the Accused Instrumentalities

     have no substantial non-infringing uses, and any other uses would be unusual, far-fetched,

     illusory, impractical, occasional, aberrant, or experimental. For example, Defendant

     supplies or causes to be supplied in or from the United States all or a substantial portion of

     the hardware (e.g., separate Deezer servers) and software (e.g., Deezer application)

     components that are especially made or especially adapted for use in the Accused

     Instrumentalities, where such hardware and software components are not staple articles or

     commodities of commerce suitable for substantial noninfringing use, knowing that such

     components are so made or adapted and intending that such components are combined

     outside of the United States, as evidenced by Defendant’s own actions or instructions to




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     users in, e.g., combining multiple Deezer components into infringing systems, and enabling

     and configuring the infringing functionalities of the Accused Instrumentalities.

            61.     As a result of Defendant’s infringement of the ’751 Patent, Plaintiff Data

     Scape is entitled to monetary damages in an amount adequate to compensate for each

     Defendant’s infringement, but in no event less than a reasonable royalty for the use made

     of the invention by each Defendant, together with interest and costs as fixed by the Court.

                                      PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Data Scape respectfully requests that this Court enter:

            a.      A judgment in favor of Plaintiff that Defendant has infringed, either literally

     and/or under the doctrine of equivalents, the ‘163 Patent, the ‘363 Patent, and the ’751

     Patent (collectively, “asserted patents”);

            b.      A permanent injunction prohibiting Defendant from further acts of

     infringement of the asserted patents;

            c.      A judgment and order requiring Defendant to pay Plaintiff its damages,

     costs, expenses, and prejudgment and post-judgment interest for its infringement of the

     asserted patents, as provided under 35 U.S.C. § 284;

            d.      A judgment and order requiring Defendant to provide an accounting and to

     pay supplemental damages to Data Scape, including without limitation, prejudgment and

     post-judgment interest;

            e.      A judgment and order finding that this is an exceptional case within the

     meaning of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against

     Defendant; and




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             f.      Any and all other relief as the Court may deem appropriate and just under

     the circumstances.

                                   DEMAND FOR JURY TRIAL

             Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

     jury of any issues so triable by right.

      Dated: September 23, 2019                        Respectfully submitted,

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